Filed 8/23/24 City of South Gate v. Robles CA2/2
   NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS

California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on opinions
not certified for publication or ordered published, except as specified by rule 8.1115(b). This opinion
has not been certified for publication or ordered published for purposes of rule 8.1115.



IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                         SECOND APPELLATE DISTRICT

                                        DIVISION TWO



 CITY OF SOUTH GATE,                                                    B325897

           Respondent,                                                  (Los Angeles County
                                                                        Super. Ct. No. BC334843)
           v.
                                                                        ORDER MODIFYING
 ALBERT T. ROBLES,                                                      OPINION AND DENYING
                                                                        REHEARING
           Appellant.
                                                                        NO CHANGE IN THE
                                                                        JUDGMENT



THE COURT:
It is ordered that the opinion filed herein on August 1, 2024, be
modified as follows:

         1. On page thirteen, after the paragraph ending
“incorporated into a written employment contract” and
before the “Grant of Summary Adjudication” heading,
insert the following paragraphs:

         In his petition for rehearing, Robles raises
  nearly half a dozen newly minted arguments
  assailing the trial court’s ruling that the four claims
  underlying summary judgment in the City’s favor
  were timely filed. Robles’s petition is procedurally
  improper, as petitions for rehearing are not a forum
  for raising new arguments for the first time.
  (Conservatorship of Susan T. (1994) 8 Cal.4th 1005,
  1013 [“‘It is a fundamental rule of appellate practice
  that an appellate court need not consider issues
  raised for the first time by a petition for rehearing’”];
  EpicentRx, Inc. v. Superior Court (2023) 95
  Cal.App.5th 890, 909 [“‘[a] petition for rehearing is
  not a place to raise any argument . . . for the first
  time’”].)
         The plethora of arguments presented in
  Robles’s petition for rehearing nevertheless distill
  down into three new arguments, each of which
  fundamentally misunderstands the law, the
  undisputed facts in this case, or both. First, Robles
  asserts that the City’s fraud claim was untimely
  because the City did not meet the heightened
  pleading standard for fraud claims. This assertion is
  frivolous because the quality of pleading has no
  bearing whatsoever to an evidence-based motion like
  summary judgment. (E.g., Rodes v. Shannon (1961)
  194 Cal.App.2d 743, 746 [“‘the sufficiency of the
  pleadings cannot be reviewed on appeal from a




                        2
summary judgment’”].) Second, Robles contends that
he was not hired as deputy city manager with a
written employment agreement until May 2002, that
the Espinoza-arranged contracts underlying the
City’s claims were all signed in the fall of 2001 when
he was merely the City treasurer who worked
without a written employment agreement, and that
the City’s fraud, breach of fiduciary duty, and breach
of contract claims are accordingly all untimely
because they are subject to the shorter limitations
periods prescribed for oral contracts. These
contentions are also without merit. To begin, the
City’s fraud claim is not contingent upon Robles’s
employment in any capacity. The fraud claim is
premised on Robles’s use of his unofficial influence
over a majority of the councilmembers to convince the
City to grant contracts to contractors who use
Espinoza as a consultant, and on Espinoza’s conduct
in subsequently funneling money paid to him with
City funds (either directly by the City or indirectly
through the contractors) to Robles; the fraud arose
because the City was getting nothing of value from
the portion of its money paid to Robles as kickbacks.
Robles’s official status is irrelevant to this fraud
scheme. The City’s breach of fiduciary duty and
breach of contract claims are also subject to the
longer limitations period for written contracts
because no matter when the Espinoza-arranged
contracts with the City were signed, the City was not
damaged until Robles received his kickbacks of City




                    3
      funds, and some of those funds were paid after Robles
      became deputy city manager. Lastly, Robles argues
      that as city treasurer he had no “official” decision-
      making power and performed wholly “ministerial”
      tasks. We also reject this argument: The fact that
      Robles’s illegal kickback scheme was outside of his
      official, ministerial duties is neither a surprise nor a
      defense that would empower Robles to keep his ill-
      gotten gains.

2. In the second paragraph of the inserted text outlined
   above, after the third-to-last sentence ending “some of
   those funds were paid after Robles became deputy city
   manager,” insert footnote 7 as follows (and renumber
   subsequent footnotes accordingly):

      7     To the extent Robles suggests in his petition for
      rehearing that the statute of limitations on all of
      these claims began to run the moment the City
      signed the Espinoza-arranged contracts, that
      suggestion contradicts Robles’s earlier concession in
      this appeal that the statute of limitations did not
      begin to run until he was federally indicted, which
      was the point at which the City first discovered
      Robles’s subterfuge.

                     *     *     *




                           4
There is no change in the judgment.

Appellant’s petition for rehearing is denied.




——————————————————————————————
ASHMANN-GERST, Acting P. J. CHAVEZ, J. HOFFSTADT, J.




                                 5
Filed 8/1/24 City of South Gate v. Robles CA2/2 (unmodified opinion)
   NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS

California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on opinions
not certified for publication or ordered published, except as specified by rule 8.1115(b). This opinion
has not been certified for publication or ordered published for purposes of rule 8.1115.


IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                         SECOND APPELLATE DISTRICT

                                        DIVISION TWO



 CITY OF SOUTH GATE,                                         B325897

           Respondent,                                       (Los Angeles County
                                                             Super. Ct. No. BC334843)
           v.

 ALBERT T. ROBLES,

           Appellant.



     APPEAL from a judgment of the Superior Court of Los
Angeles County, Olivia Rosales, Judge. Affirmed.

         Albert T. Robles, in pro. per., for Appellant.

     Gordon Rees Scully Mansukhani, Don Willenburg and
Andrea K. Williams for Respondent.
                              ******
       Albert Robles (Robles) exploited his position as an elected
city official and city employee to direct city funds to certain
companies and individuals, from whom he extracted kickbacks
for his “services.” After he was prosecuted federally for these
acts, the city sued Robles civilly to recover the amount of money
he extracted from the city as kickbacks. The trial court granted
the city summary judgment on four of its claims, and entered
judgment for over $4 million. Robles challenges the judgment on
several grounds. Because they all lack merit, we affirm.
          FACTS AND PROCEDURAL BACKGROUND
I.     Facts
       A.     Robles takes control of city bidding process
       Robles was a political fixture within the City of South Gate
(the City) for many years. He served as an elected member of the
five-member city council from 1992 to 1997, including a stint as
mayor during that period. Robles was elected as the City’s
treasurer in 1997, and the voters reelected him to that position in
2001. In May 2002, the City also hired Robles to work as a
deputy city manager. His position as deputy city manager was
governed by a written employment agreement.
       B.     Robles receives kickbacks
       In the mid-1990s, Robles concocted several schemes to
make money using his influence over City politics.
       One of the schemes involved Edward Espinoza (Espinoza),
a New Jersey-based financial and political consultant.1 It worked



1     This was not the only scheme. Robles also received
kickback payments from a different consultant who, after
receiving money from companies who won City contracts, would




                                2
like this: (1) Robles would convince companies who wanted
contracts with the City to hire Espinoza as a consultant; (2)
Robles would use his influence as an elected city official and city
employee to ensure that the City accepted bids from the
companies who hired Espinoza; (3) the City would pay those
companies the bid price; (4) the companies would pay Espinoza’s
consultant fees—including for consulting work he never
performed—from the fees they received from the City; and (5)
Espinoza would “funnel” the majority of his consultant fees to
Robles or to companies or individuals Robles specified.
       Through this scheme, Robles obtained $2,022,588 of City
funds. Specifically:
       –     Robles used his influence to obtain City approval of a
housing project for a developer who hired Espinoza as a
consultant. The City paid the developer approximately $24
million, from which the developer paid Espinoza $1,825,000, for
consulting fees, of which Espinoza thereafter funneled Robles, his
family, and his friends $1,242,588.
       –     Robles also used his influence to obtain City
approvals on a sewage project and a parking lot project for
companies and individuals who hired Espinoza as a consultant.
The City paid those developers, who paid Espinoza, who
subsequently funneled a total of $780,000 to Robles, his relatives,
and his friends.
       C.    Robles is removed from office and prosecuted
       In January 2003, voters in the City recalled Robles from
elected office.



funnel money to Robles. One of those consultants made $437,500
in unreported campaign contributions to Robles.




                                 3
       In June 2003, the City terminated Robles’s employment as
deputy city manager, citing the “numerous egregious acts” he
committed and the “gross neglect of his fiduciary responsibilities”
that resulted in “a significant breach of public trust.”
       Also in June 2003, a grand jury indicted Robles for this
public corruption. In July 2005, a jury found Robles guilty of 21
counts of honest services mail and wire fraud based on his failure
to disclose financial conflicts of interest, four counts of money
laundering, and five counts of bribery. He was sentenced to 10
years in federal prison.
       Espinoza pleaded guilty to his role in the scheme.
       D.     Many of Robles’s convictions are reversed for
resting on a legally invalid theory
       While Robles was directly appealing his convictions, the
United States Supreme Court ruled that the crime of honest
services fraud could no longer be based on a public official’s
failure to disclose a conflict of interest. (Skilling v. United States
(2010) 561 U.S. 358.) Because the “jury instructions[] and the
closing arguments at [Robles’s] trial were permeated with the
[recently] prohibited failure to disclose theory,” the Ninth Circuit
Court of Appeals issued an opinion in April 2013 reversing the
subset of Robles’s convictions that were based on that now-
invalid theory; his convictions on the still-valid theory of bribery
were affirmed. (United States v. Garrido (2013) 713 F.3d 985.)
II.    Procedural Background
       A.     Robles’s complaint
       On June 10, 2005, Robles sued the City for wrongful
termination from his post as deputy city manager. In 2007, the
trial court granted summary judgment for the City on Robles’s




                                  4
employment-related claims. That judgment is not at issue in this
appeal.
       B.    The City’s cross-complaint
       On January 12, 2006, the City filed a cross-complaint
against Robles alleging claims for (1) breach of Government Code
section 1090, which prohibits public officials from having a
financial interest in any contract made in their official capacity;
(2) breach of fiduciary duty; (3) breach of Labor Code section
2860, which prohibits employees from retaining anything
acquired by virtue of their employment except their wages; (4)
fraud; (5) breach of Robles’s employment agreement; (6) unjust
enrichment; and (7) declaratory relief.
       C.    Summary judgment/adjudication
       Due to the pendency of Robles’s criminal case and sentence,
during which time discovery was largely stymied due to Robles’s
ability to invoke his right against self-incrimination, the City’s
cross-complaint remained in abeyance for many years.
             1.     Motion and initial ruling
       In June 2021, the City moved for summary judgment on
the claims in its cross-complaint. Attached to the City’s motion
was a detailed declaration from Espinoza recounting Robles’s
scheme.
       Robles did not file a written opposition to the summary
judgment motion. Instead, he appeared in propria persona at the
September 2021 hearing and orally requested a continuance due
to a “severe mental health crisis.” The trial court denied the
request because Robles “could not articulate any facts that would
create a triable issue” if he were given an opportunity to file an
opposition. The court granted the City’s motion and entered
judgment for the City on its cross-complaint in November 2021.




                                 5
             2.     Robles’s new trial motion, additional briefing,
and operative ruling
       After hiring a lawyer, Robles filed a motion for a new trial,
asking the court to vacate the judgment and allow him to oppose
the motion for summary judgment. Following further briefing
and a hearing, the trial court granted Robles’s motion so the
court could “issue a substantive ruling, on the merits” of the
City’s summary judgment motion. The court vacated the
judgment for the City, vacated the initial order granting
summary judgment, and placed that motion back on calendar.2
       Robles filed his opposition to the summary judgment
motion. His chief argument was that the City’s claims were time-
barred. He did not file any declaration or other evidence
contesting Espinoza’s recounting of events.
       Following further briefing and another hearing, the trial
court issued a new ruling in March 2022 denying in part and
granting in part the City’s motion. The court denied summary
adjudication of the City’s claim under Government Code section
1090, finding “triable issues of material fact” regarding whether
that claim was barred by the applicable one-year statute of
limitations. The court also denied summary adjudication of the
City’s unjust enrichment and declaratory relief claims, noting
that the City had failed to “substantively address[]” those claims
in its motion. However, the court granted summary adjudication
of the City’s remaining claims—for breach of fiduciary duty,
breach of Labor Code section 2860, fraud, and breach of
contract—because (1) they all “sound[ed] in fraud” and thus were


2     The City had moved to amend that judgment to include a
provision setting forth a damages award, but withdrew its motion
once the trial court reopened the briefing on summary judgment.




                                 6
not barred by the applicable three-year statute of limitations, and
(2) Robles “failed to submit sufficient evidence” to raise a triable
issue on liability for those claims or for damages.
             3.     Post-summary adjudication briefing on
damages
       The City dismissed the three claims on which summary
adjudication had been denied, and filed a motion for entry of
judgment with an award of damages on its successful claims.
Robles asserted for the first time that the City’s damages were
“unsupported, overlap[ped], [were] duplicative, and would result
in a double recovery.”
       The trial court again indulged Robles’s belated attack on
the propriety of summary judgment, and sua sponte reconsidered
its order granting summary judgment on “the limited issue” of
damages. The parties filed supplemental briefs regarding
damages as ordered by the court.
       In September 2022, the trial court ruled that its March
2022 summary judgment order “will stand.” Alternatively, the
court ruled that, even if the court were to reconsider that order,
“Robles [had] failed to submit any admissible evidence”
challenging the City’s damages calculations. The court awarded
the City $1,704,268.84, representing the total amount Espinoza
funneled to Robles and those people or entities specified by
Robles from the City’s contract payments less $318,319.16 of
payments the City had been refunded.
       D.    Appeal
       After judgment was entered for the City in the amount of
$4,550,146.24 (which added in accrued prejudgment interest),
Robles filed this timely appeal.




                                 7
                            DISCUSSION
       Robles argues that the trial court erred in granting
summary adjudication to the City on its claims for breach of
fiduciary duty, breach of Labor Code section 2860, fraud, and
breach of the employment agreement because (1) those claims are
barred by the statute of limitations, and (2) there are triable
issues of material fact as to liability and damages.
       Like summary judgment, summary adjudication is
appropriate when the moving party shows “[it] is entitled to a
judgment as a matter of law.” (Code Civ. Proc., § 437c, subd. (c);
State of California v. Continental Ins. Co. (2017) 15 Cal.App.5th
1017, 1031 [summary adjudication is “‘procedurally identical to
[a] motion[] for summary judgment’”].) When the moving party is
the plaintiff (or, here, the cross-complainant), the plaintiff must
establish proof as to “each element of [its] cause of action.” (Code
Civ. Proc., § 437c, subd. (p)(1).) The burden then shifts to the
nonmoving party to show that a “triable issue of one or more
material facts exists as to” any of those elements or as to any
defense (ibid.; Oldcastle Precast, Inc. v. Lumbermens Mutual
Casualty Co. (2009) 170 Cal.App.4th 554, 564). Summary
adjudication should be denied only when there are “genuine” or
“triable” issues of fact to be resolved at trial—that is, when “the
evidence would allow a reasonable trier of fact to find . . . in favor
of the party opposing the [summary adjudication] motion.” (Serri
v. Santa Clara University (2014) 226 Cal.App.4th 830, 860, citing
Aguilar v. Atlantic Richfield Co. (2001) 25 Cal.4th 826, 845; Code
Civ. Proc., § 437c, subds. (c), (o) &amp; (p).)
       In applying this standard, we independently review the
evidence before the trial court except the evidence to which an
objection was made and sustained (and when that evidentiary




                                  8
ruling is not challenged on appeal),3 and we review that evidence
in the light most favorable to the nonmoving party, “resolving . . .
any doubts” against summary adjudication. (Salas v. Sierra
Chemical Co. (2014) 59 Cal.4th 407, 415; Roe v. McDonald’s Corp.
(2005) 129 Cal.App.4th 1107, 1113.) Because the propriety of
summary adjudication is a question of law, our review is de novo
and we may affirm on any ground regardless of whether the trial
court relied on that ground. (Burgueno v. Regents of University of
California (2015) 243 Cal.App.4th 1052, 1057; Long Beach
Memorial Medical Center v. Kaiser Foundation Health Plan, Inc.
(2021) 71 Cal.App.5th 323, 336.)
I.     Statute of Limitations Bar4
       We independently conclude that the undisputed facts
establish that the City’s cross-claims were timely filed. (See Jolly
v. Eli Lilly &amp; Co. (1988) 44 Cal.3d 1103, 1112 [statute of
limitations ordinarily a question of fact unless “the



3      Although Robles filed objections to the City’s evidence, the
trial court overruled those objections, and Robles’s attack on the
trial court’s evidentiary rulings in his appellate briefs is cursory
and contains no legal analysis whatsoever. We accordingly deem
this attack on the trial court’s evidentiary rulings waived.
(Cahill v. San Diego Gas &amp; Electric Co. (2011) 194 Cal.App.4th
939, 956; Cal. Rules of Court, rule 8.204(a)(1)(B).)

4     Because we elect to address Robles’s arguments regarding
the statute of limitations on their merits, we have no occasion to
address the City’s antecedent argument that Robles waived any
statute of limitations defense by not raising any statute in
particular in his initial answer and by citing only one statute
when raising the defense in his amended answer after the
summary judgment motion was filed.




                                 9
uncontradicted facts . . . are susceptible of only one legitimate
inference”].)
       The four cross-claims at issue are governed by a three- or
four-year statute of limitations for two reasons. First, the
gravamen of the City’s four claims sounds in fraud, and claims
grounded in fraud—even if they are not labeled as fraud claims—
have a three-year statute of limitations. (Hensler v. City of
Glendale (1994) 8 Cal.4th 1, 22-23 [“gravamen,” rather than form
or relief demanded, is key when assessing applicable statute of
limitations]; Vera v. REL-BC, LLC (2021) 66 Cal.App.5th 57, 66
[fraud limitations period “‘applie[s] to any form of action, for any
kind of relief . . . regardless of whether the complaint seeks legal
or equitable relief or pleads a cause of action in tort or contract’”];
Thomson v. Canyon (2011) 198 Cal.App.4th 594, 606-607 [same].)
Second, even if we look to the label of the City’s claims rather
than their gravamen, the limitations periods for each claim is
either three or four years. (American Master Lease LLC v. Idanta
Partners, Ltd. (2014) 225 Cal.App.4th 1451, 1479 [three or four
years for breach of fiduciary duty depending on whether breach is
contractual or fraudulent]; Code Civ. Proc., §§ 343 [residual four
years for violation of Labor Code section 2860], 338, subd. (d)
[three years for fraud], 337 [four years for breach of written
employment agreement].)
       Because the parties do not meaningfully dispute that the
City’s cross-claims accrued when Robles was federally indicted in
June 2003, and because it is undisputed that those cross-claims
were filed in January 2006,5 the City’s cross-claims were timely
filed under either limitations period.

5    Because we rely on the date the City filed its cross-
complaint, we need not consider the City’s arguments that its




                                  10
       Robles resists this conclusion with what boils down to two
arguments.
       First, he argues that all of the City’s claims are subject to
the one-year statute of limitations governing a claim under
Government Code section 1090. Specifically, Robles urges that
(1) a violation of Government Code section 1090—which is
premised on a public official’s involvement in transactions in
which he has a financial interest—has a one-year statute of
limitations when the remedy sought is a voiding or “forfeiture” of
the unlawful transaction (Brandenburg v. Eureka Redevelopment
Agency (2007) 152 Cal.App.4th 1350, 1364-1365; Code Civ. Proc.,
§ 340, subd. (a)); (2) the City’s four successful claims—while not
claims under Government Code section 1090—are nevertheless
all “rooted” in the same nucleus of facts as the City’s now-
dismissed section 1090 claim; such that (3) section 1090’s one-
year limitations period must apply to all of the City’s similarly
rooted claims.
       We reject this argument for several reasons. To begin, it is
factually inapt. The City is not seeking in its cross-claims on
which it was granted summary judgment a “forfeiture” or voiding
of the transactions in which Robles was involved; instead, the
City is seeking damages representing the amount that the City
paid and Robles personally pocketed. Further, Robles’s argument
is unsupported by the law. Robles cites no authority for the
proposition that courts faced with a multitude of claims with
different elements and different limitations periods must apply
the shortest limitations period to all of them if they rest on the
same nucleus of facts. What is more, Robles’s argument is

cross-claims relate back to Robles’s filing of his complaint in June
2005.




                                11
unsupported by logic: If his proffered “apply the shortest
limitations period” rule applies only when a party at some point
in a case alleges a claim with that limitations period (even if that
claim is later dismissed), then litigants will never allege claims
with such short fuses (thereby nullifying our Legislature’s intent
that such claims be available); but if his proffered rule applies
even when a claim is never alleged, then trial courts will be
tasked with scouring the statutory code books looking for possible
claims with short limitations periods that could have been
brought under the same nucleus of facts alleged in a complaint.
        Second, Robles argues more specifically that the City’s
Labor Code section 2860 claim is barred by the two-year statute
of limitations in Code of Civil Procedure section 339, subdivision
(1). He is wrong. This statute deems “[e]verything . . . an
employee acquires by virtue of his employment” beyond wages to
“belong[] to the employer,” thereby establishing a duty of loyalty
owed by the employee that “must be read into every employment
relationship.” (Lab. Code, § 2860; Lugosi v. Universal Pictures
(1979) 25 Cal.3d 813, 826, superseded by statute as stated in
Timed Out, LLC v. Youabian, Inc. (2014) 229 Cal.App.4th 1001,
1008.) Because the City’s Labor Code section 2860 claim seeks
relief based “upon a liability created by statute” and does not
seek forfeiture of the entirety of Robles’s compensation as an
employee, a three-year limitations period applies. (Code Civ.
Proc., § 338, subd. (a).) Robles’s responds that General Electric
Co. v. Wilkins (E.D.Cal. Aug. 31, 2012, No. CV F 10-0674 LJO
JLT) 2012 U.S. Dist. Lexis 124642, *46, states that “[t]he
applicable statute of limitations on an action brought pursuant to
. . . Labor Code section 2860 is two years pursuant to . . . Civil
Procedure Code 339(1),” but Wilkins is not binding upon us,




                                12
provides no authority or analysis for its assertion, and cites to a
provision governing actions based upon “liability not founded
upon an instrument of writing” (Code Civ. Proc., § 339, subd. (1))
when the liability here is grounded in statute and incorporated
into a written employment contract.6
II.   Grant of Summary Adjudication
      As to both liability and damages, we independently
conclude that the City was entitled to judgment as a matter of
law on its cross-claims.
      A.     Liability
      The four cross-claims at issue in this case—breach of
fiduciary duty, breach of Labor Code section 2860, fraud, and
breach of the employment agreement—all rest on Robles’s years-
long scheme to circuitously extract kickbacks from contractors in
exchange for using his influence to have the City award those
contractors contracts with the City. In support of its claims, the
City submitted declarations from Espinoza and two City
managers, as well as supporting documentation—all
substantiating the scheme and the amounts Robles received as
recompense for his exertion of influence. (See Huong Que, Inc. v.
Luu (2007) 150 Cal.App.4th 400, 410 [applying breach of duty of
loyalty, as analogous to breach of fiduciary duty, to Labor Code
section 2860 claim].) Robles did not contest any of this evidence
in opposition to summary adjudication. As a result, the City’s
undisputed evidence established the elements of its four cross-



6     Even if the Labor Code section 2860 claim were time-
barred, this would not affect the judgment as to the City’s other
three cross-claims, which are independently sufficient to sustain
the damages award.




                                13
claims and summary adjudication of those claims was
appropriate.
       Robles responds with what we have grouped into three
arguments.7
       First, he argues that the Ninth Circuit’s act of overturning
most of the federal criminal charges against him mandates
dismissal of the City’s cross-claims. We reject Robles’s attempt to
equate apples and oranges. The Ninth Circuit vacated Robles’s
convictions because the pertinent federal criminal law did not
proscribe honest services fraud on the basis of undisclosed
conflicts of interest. However, the City’s cross-claims are not
based on federal criminal law, and hence are not subject to its
limitations. Instead, the City’s cross-claims are based on breach
of fiduciary duty, breach of Labor Code section 2860, fraud, and
breach of the employment agreement under California law.
Thus, the dismissal of Robles’s federal charges does not involve
the identical claims or issues, and does not have the quasi-
collateral estoppel effect Robles asserts. (Accord, Boeken v. Philip



7      For the first time in his reply brief on appeal, Robles makes
a fourth argument that the Labor Code section 2860 claim is not
viable because Robles was not acting in his “official capacity.” By
waiting until his reply brief to raise this issue, Robles has waived
it. (People v. Tully (2012) 54 Cal.4th 952, 1075.) This assertion is
contradicted by the undisputed evidence in the record in any
event.
       For the first time at oral argument, Robles made a fifth
argument that he cannot be civilly liable for the kickback scheme
because his attempts to use his unofficial influence to personally
profit were outside his official duties. The officiality of Robles’s
duties is not a defense to any of the claims on which the City was
granted summary judgment.




                                14
Morris USA, Inc. (2010) 48 Cal.4th 788, 797 [discussing elements
of res judicata and collateral estoppel].)
       Second, Robles argues that the grant of summary
adjudication was improper because the City’s motion was “pegged
solely” on Espinoza’s declaration, because Espinoza’s recounting
of the facts was “uncorroborated,” and because his recounting
was not credible and could be contradicted.8
       These arguments misunderstand the facts and the
applicable law. Robles’s assertion that Espinoza’s declaration
was the sole evidence submitted by the City is factually
inaccurate, as the City also submitted two other declarations
from City managers as well as documentation. Robles’s challenge
to Espinoza’s declaration is legally untenable. Contrary to what
Robles asserts, “direct evidence of one witness . . . is sufficient for
proof of any fact,” including on summary judgment; corroboration
is not generally required. (Evid. Code, § 411; Code Civ. Proc., §
437c, subd. (e).) Although there is an exception to this rule “if the
only proof of a material fact . . . is a[] declaration made by an
individual who was the sole witness to that fact” (Code Civ. Proc.,
§ 437c, subd. (e)), Espinoza was not the “sole witness” to Robles’s
kickback scheme because Robles was also a witness to that
scheme. Yet Robles elected not to submit an opposing
declaration. Robles’s efforts in his briefs on appeal to criticize the
content of Espinoza’s declaration or Espinoza’s credibility


8     At oral argument, Robles argued that Espinoza’s
declaration was inadmissible hearsay. He is wrong. Declarations
submitted in support of a summary judgment are not hearsay
(Perry v. Bakewell Hawthorne, LLC (2017) 2 Cal.5th 536, 541),
and references to Robles’s statements in Espinosa’s declaration
are admissible as the statements of a party opponent.




                                  15
(because Espinoza is a “felon”) are not “evidence” and hence
cannot create a triable issue of material fact. (Kerns v. CSE Ins.
Group (2003) 106 Cal.App.4th 368, 396 [“weighing of conflicting
evidence . . . is a process which can never take place in the
context of a summary judgment motion”]; People v. Prunty (2015)
62 Cal.4th 59, 89 [conc. &amp; dis. opn. of Cantil-Sakauye, C. J.
[credited testimony may be rejected only if it was “‘“physically
impossible or inherently improbable”’”].) As far as our review
goes, Espinoza’s declaration is credible and undisputed. Robles
nevertheless cites Featherstone v. Southern Cal. Permanente
Medical Group (2017) 10 Cal.App.5th 1150, 1159, and Evidence
Code section 412 to assert that corroboration is required. He is
wrong. Featherstone addressed how to prove discriminatory
motive through shifting burdens of proof, which is irrelevant
here. Evidence Code section 412 provides that evidence should
be “viewed with distrust” if “stronger and more satisfactory
evidence” is available; it does not stand for the proposition that
corroboration is always required, for such a proposition would
nullify Evidence Code section 411.
       Third, Robles argues that there are triable issues of fact as
to whether he violated Government Code section 1090. This
argument is irrelevant because the City’s cross-claim under this
statute was dismissed after the trial court denied summary
adjudication on it.
       B.     Damages
       As part of its motion for summary adjudication, the City
presented evidence—which Robles did not contest—that
$2,022,588 of the money it paid to various City contractors
ultimately ended up in Robles’s pocket, despite Robles not
granting the City anything in exchange for that money. This




                                 16
amount—less the $318,319.16 the City was able to recover—
accordingly represents “the amount of damages actually caused
by [Robles’s] fraud, misrepresentation, conversion or breach of
fiduciary duty.” (Siry Investment, L.P. v. Farkhondehpour (2020)
45 Cal.App.5th 1098, 1135, revd. in part on other grounds by Siry
Investment, L.P. v. Farkhondehpour (2022) 13 Cal.5th 333.)
       Robles resists this conclusion with five arguments.
       First, he argues that the City never proved actual harm,
loss, or damages. He is wrong. As explained above, the City
established that, through his intermediary Espinoza, Robles
siphoned off a portion of the contract funds the City paid to
contractors despite Robles providing nothing to the City in
exchange for those funds. But for Robles’s kickback scheme, he
would not have received $1,704,268.84 in City money. (See
United States v. Gaytan (9th Cir. 2003) 342 F.3d 1010, 1012 &amp; fn.
3 [“bribe money” belongs to local government, and so long as
defendant keeps it, the local government “suffers an actual
loss”].)
       Second, Robles argues that the damages award is
impermissible because it constitutes “restitution” as well as a
“forfeiture” under the time-barred Government Code section 1090
claim. Again, he is wrong. We reject Robles’s attempt to
invalidate the award by assigning different labels to it; no matter
what label is used, the amount awarded represents what Robles
took from the City while giving nothing in exchange, and that
amount is validly awarded as damages. There was no forfeiture
under Government Code section 1090 in any event because the
court did not invalidate the contracts; the City was awarded
damages representing the amount Robles profited by taking the
City’s funds.




                                17
       Third, Robles argues that the City failed to prove that he
personally benefitted from the scheme. This is irrelevant,
because the pertinent measure of damages is the City’s loss, not
Robles’s personal gain. Further, this argument ignores the
undisputed evidence before the trial court supporting the finding
that Robles also personally gained by the amount he siphoned
from the City.
       Fourth, Robles argues that the City is not entitled to any
damages on its Labor Code section 2860 claim because (1) Robles
did not “acquire[]” any City funds from the contracts he
facilitated, and (2) the City’s sole remedy for violations of that
provision is an accounting. As to the first sub-argument, Robles’s
execution of his scheme while serving as an elected treasurer and
employed deputy city manager fits squarely within the scope of
Labor Code section 2860’s prohibition against an “employee
acquir[ing]” anything “lawfully or unlawfully” “by virtue of his
employment.” (Lab. Code, § 2860.) More to the point, Robles
ended up with close to $2 million in City funds that he should not
have received. As to the second sub-argument, an accounting is
one remedy for violating that prohibition; it is not the only
remedy. (Id., § 2861.)
       Fifth and lastly, Robles argues that there are triable issues
regarding the City’s claim for punitive damages. This argument
is irrelevant because the City was not awarded punitive
damages.




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                       DISPOSITION
     The judgment is affirmed. The City is entitled to its costs
on appeal.
     NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS.



                                     ______________________, J.
                                     HOFFSTADT

We concur:



_________________________, Acting P. J.
ASHMANN-GERST



_________________________, J.
CHAVEZ




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